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TRULINCS 92036054 -CHICHAKLI,RICHARD AMMAR -Unit:M IM-B-A

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  :                                                                                           Apr 1,92015
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                                                                                                         .)
    JECT:Bop-Marshal-Grady-1
DXFV*C%l21/2015 06:34:24 AM                                                                        STEVENM.LARIMQRE
     @                                                                                             ckggy g,g,gjW W
                                                                                                    S.D.efFLA.-VI
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                                                                                                                AMI
UNITED STATE DISTRICT COURT                                                                                            '
                                                                                                                       *
FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                                                   15-CV-21255-Lenard/White
XXXXX XX XXX XX XX XX XX XX XX XXXX X XX
                                                                COMPLAINT FOR VIOLATION OF
            RICHARD A.CHICHAKLI
                 PLAINTIFF
                                                               CONSTITUTIONAL AND CN IL RIGHTS

CHARLES E.SAMUELS,JR., DIRECTO R ,FEDERAL
BUREAU O F PRISO N ,U.S.DEPARTMENT OF JUSTICE;                               cat/divswo//î&3,/z,J,a
                                                                               ,
                                                                                               -

STACIA HYLTO N,DIRECTOR,U.S.MARSHAL SERVICE                                  case #             -- ---
U.S.DEPARTM ENT O F JUSTICE; SHANE W YATT,                                   Judge                Mag-W v ITE         --

DIRECTO R,GRADY COUNTY CRIM INAL JUSTICE                                     Motn lfp        FZ Y Fee pd$ -/3 -
AUTHORIW ,GRADY CO UNW ,STATE OF OKLAHOMA;
MIKE LENNIER,GRADY COUNW COMMISSIONER                                        Receipt#            -- - ------ --
GRADY COUNTY DISTRICT-2,STATE OF OKLAHOMA;
ALL IN THEIR OFFICI
                  A L CAPACIW
                DEFENDANTS
XXXX XXX XX XXX XX XX XX XX XX XX XXXX X


     COMES NOW PLAINTIFF,RichardA.Chi
                                    chakli(Pro-Se),andsetforththathi
                                                                   sConstitutionaland CivilRights
wereviolatedbythenameddefendantsintheirofficialcapacity,byeachandeveryoneofthem singularlyandjoint
together,and because ofthese violati
                                   ons plaintiffsuffered damagesforwhich he isentitled forcom pensation.


                                   P R E LIM IN A R Y S T A T E M E N T


    PlaintiffRichard Chichakliis an incarcerated federalprisonerin the custody ofthe FederalBureau ofPrison

(BOP)sinceMay25,2013.Plaintiffhasbeenincarceratedatthe MetropolitanDetention Centerin Brooklyn
(MDC-BrookIyn)from December2013throughthemorning ofFebruary10,2015.

    Plaintiffwas designated to MiamiFederalCamp and was moved by the United States MarshalService

(Marshals)ontheMorning ofFebruary 10,2015from MDc-Brooklynin-routto the prisoncampinMiami.The
custody ofthe prisonerwas assigned to the Marshals on Feb 10,2015

      Plaintiffi
               s an observantJew and a strictfollowerofthe Jewish faith in aIIofits m aterialaspects,
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including praying three-times a day,putting on Tefillin and Tallis during cedain prayers, and wearing Yarmulke

(Keepa)and Tzitzitasrequired bythe cannonsoftheJewishfaith. AIIofthe above Iisted items,inadditi
                                                                                               onto
the Jewish PrayerBook -known as Sidur;aIIare approved i
                                                      tems by the BOP, and alIIisted in the BOP manuals,
and are permitted to be atthe possession ofJewish prisoners atalltimes.

 4. Plaintiffisa strictobservantofthe Jewish Dietary Iaws known as ''Kashrus'
                                                                            ',Plaintiffis only permitted to
eatfood which iscedified ''Kosher'by an accredi
                                              ted and acceptable Rabbinic Authority. Such dietis known in
the BOP System ,and isreferred-to in the BOP's Manualas 'Com mon Fare.' Pl
                                                                         ainti
                                                                             ffhas always been restricted
to Kosherfood dietas reflected in his records atthe BOP.

 5. Atthe time Plaintiffunde- entthe required steps pri
                                                      orto his departure from M DC ,he had the five i
                                                                                                    tems

Iistedinparagraph(3)above;namely,onesetofTefillin,oneTallit,oneYarmulke,oneTzitzitundergarment,
and one PrayerBook.These i
                         tems were inventori
                                           ed by the ChaplainofMDc-Brooklyn,properlydocumented in
the appropriate BOP'
                   s ''Religious Property Inventory Form ',and snally handed overto the Marshal
                                                                                              s to accompany
plainti
      ffs on the airplane and during histravelas itis customary handled.

    Plaintiffwas moved by bus to an airportfacility in New Jersey,and there boarded an airplane. Plaintiffs

movementon February 10,2015 wasterminated atOklahoma Ci
                                                      ty,State ofOklahoma atthe FederalTransfer

Center(FTC)airpodfacility,

     Uponthe arrivalofthe airplane to the FTC terminal,plainti
                                                             ffwas ordered offthe airplane and escoded to

awaitingbusattheterminal.The busismarked''GradyCountyCriminalJustice''(Grady).The nameofPlaintiff
was read from a pre-printed listin the hand ofthe Marshalwho had call
                                                                    ed his name.The placementofPlaintiff
atGrady Jailinstead ofFTC was clearly preplanned and predetermined by Marshals.

     W hile the otherinmates had de-boarded the airplane into FTC,Plaintiffwas pl
                                                                                aced on the bus and was
driven forapproximately 45 m inutes to the townofChickashta -Oklahoma,where he was remanded atGrady
County Jailfrom February 10,2015 through February 24,2015.



                                   S T A T E M E N T O F FA C T S


    aintifsarrivedtoGradyCountyCriminalJustice Center(GradyJail)I
9. Pl                                                           ateatnight.Plaintiffremained
                       Case 5:15-cv-00687-D Document 1 Filed 04/01/15 Page 3 of 9

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hand-cuffed and shackled foratIeast15 hours on February 10,2015. Since removed from his UnitofIncarceration
atMDc-Brooklyn,and throughoutthe entire day ofFebruary 10,2015,including the duration ofwai
                                                                                          ting on the Bus
and in the airplane,and including the duration offli
                                                   ghtatthe Marshal's airplane plaintiffwas notprovided any
Koshermeal,norany food which meets the Kosherdesnition ofthe BOP manual.

      During one segmentoffli
                            ghtthe Marshals provided a mealwhich consistofa 'Bologna sandwich''to the
prisonerstravelling on the airplane.The mealwas NotKosher'
                                                         ,thus,Plaintiffexplained to Marshalsthathe could
noteatsuch food because itviolatesthe cannons ofhis religionand requested to be fed 'Kosher''food.

      The Marshals advi
                      sed Plaintiffthatthey do nothave any Kosherfood,and ifhe wanted to eathe m usteat
the available non-Koshersandwich.Plainti
                                       ffdeclined the mealand remained withoutany mealthroughoutthe day.


     UponarrivaltoGradyJail,plaintiffwasplacedatthe''Gymnasium hall''formorethanfour(4)hours,neither
food nordrinkswere provi
                       ded by G rady County,norchairs,seats,ormattresseswere given. Plaintiffwho is 56
years oId in I
             ess than average health requested to be fed because he feltfainted and exhausted.Plaintiffwas told
to siton the floorand wai
                        tto be un-cuffed and fed.

13. Plaintiffwas un-cuffed,and he was offeredtwo-slicesofbread with Bologna and Cheese as a meal.Plaintiff
informed the guards ofGrady Jailthathe only eatKosherfood in accordance with the BO P manual,and explained
thatthe sandwich they offered is notKosheron principles because itmixesdairy and meattogether.

       Plaintifffudherrequested to be given his Bible and religiousitems which accompanied him on the bus
from the airportin orderto perform his prayersas he is accustomed to do.Plaintiffexplained thatthese i
                                                                                                     tems
are BOP's approved,and he fudherprovided the guard with a copy ofthe officialBOP form which issigned and
certified by an authorized BOP Chaplain,

15. The guards informed plainti
                              ffthatGradyJailRules does notrecognize BOP forms,nordoes i
                                                                                       trecognize
the rightcl
          aimed by plaintiffto conducthis Jewish prayer;thus,neitherthe Bible northe prayer's shawland
Teffilin can be rel
                  eased to pl
                            aintiff. The guard informed plaintiffthatthe non-koshersandwich he was offered
istheonlyfood available,and should plainti
                                         ffdecline to acceptthe Bologna and Cheese sandwich he willremain
withoutfood.

16. Plaintiffstated thatitis againsthis religion to eatnon-kosherfood;thus,he decline to acceptthe food
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offered by Gradyand requested to see a supervisor;the guard stated thatno supervisorisavailable after
midnight,
        'however,a Sergeantshowed up and he informed Plaintiffthathe should write the 'Marshal's Liaison'
                                                                                                        '

aboutthe issuesthe plaintiffhas raised.


17. Pl
     ainti
         fffilled outa ''MarshalLiaison RequestForm''where he described the issues related to getting

                                           s approved,and the matterrelated to receiving Kosherfood in
his personalreligious propedy which are BOP'
compliance with the BO P's rules and manual.Plaintiffhanded the written requestto the guard on the same day
ofhis arrivalto GradyJail,and thatday Tuesday February 10,2015.

18. AsofThursday February 12,2015 Plaintiffdid notreceive any response from Grady officials;thus,
Plaintiffwroteagainto the Marshal'sLiai
                                      sonconcerningthe same twosubjectmattershe raisedinhi
                                                                                         searlier
requestdated Tuesday 10,2015,
                            .namely his need to practice his Jewish faith and his need forKosherfood.
Plainti
      ffasserted thathe has consti
                                 tutionalrightsto freely exercise his religi
                                                                           on and he demanded his bible
released to him wi
                 thoutfurtherdeiay-

19.No response was recei
                       ved from Grady Jailoffi
                                             cials,norfrom the Marshal's Liaison nextday,northroughout

the three days followed plintifs arrivalto G rady. During the entire period untilFriday Plaintiffwas notprovided
wi
 thany Kosherfood by Grady Jail,norhas he been able to eatanything atall.

20. Furthermore,during aIIthe three days following hisarri
                                                         val,plaintiffwas denied the rightto pray,to study
his Torah,and to puton hisTefillinvTalli
                                       s,and his Tzitzi
                                                      t. Plainti
                                                               ; requested to receive a Jewish Bible from
Grady JailChaplin,buthe was advised thatGrady CountyJaildoes notprovide any bibles otherthan the Christian
Bibles whi
         ch are the only bibl
                            es made available to prisoners in Grady County Jail.

21. O n Friday February 13,2015 Plaintiffwrote an extensive Ietteraddressed to the W arden ofGrady County
Jailwith a copy to the Marshal
                             's Liaison.The Ietterrei
                                                    terated plainti
                                                                  ffs demand forthe Constitutionalrightto
freely exercise hi
                 s religi
                        on by perm itting him to have hisJewish PrayerBook,and hi
                                                                                s prayerrelated items,and
be allowed to pray as required in the Jewish religion.
Plaintiffalso raised the issue ofthe Kosherfood by,again,requesting thathe be provided with Kosherfood,
padicularly as Friday-evening was approaching,being the beginning of''Shabbos''a sacred and revered Jewish
holl
   y eventwhich observance is a m ustforeveryJew. Grady Jailguardswere fully aware thatPlainti
                                                                                             ffwas not
eating,and has notconsumed any mealsince hisarri
                                               valto Grady County Jailon February 10,2015.
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22. On Friday Feb/13 Iate afternoon Plaintiffwas taken to the the office ofthe Marshal's Liaison. The Liaison
officerhad Plaintiffs boxwhi
                           ch contained Plaintiffs personalreligious item on histable, along with PlaintiTs
                         ff's requestforms which were submitted earlier.
IetterofFriday and plainti


23. The Marshal's Liai
                     son informed Plaintiffthathe willbe willing to allow pl
                                                                           aintiffto pray dailyif

Plaintiffaccepttodosuch prayerinsecludedroom inorderto avoidgetting subjectedto harassment,
intimi
     dation,orbecoming a''Joke''subjectbyotherprisonersbecause ''noone here isfamiliarwiththe
Jewish faith''and the religious i
                                tems plaintiffhas in the box 'Iooks weird''asstated by the official. Plaintiff
im mediatelyagreed to be placed anywhere where he could conducthis prayer, and expressed his gratitude to
the Marshal'
           s Liaison.


24. The Marshal'
               s Liaison inspected the materialin the boxwhich was prepared,packed,and Iabeled by the
BOP o/cials,also approved Plaintiffs requestto keep his Bible in his possession in the unitwhere he was held.

Plaintiffwasheldin Unit(4E)inGradyCountyJail.

25. Atthe time dinnermealwas di
                              spensed throughthe slotin the doorofUnit4-E,Plaintiff's nam e was
called and he was handed a Styrofoam plate wrapped in a cellophane wrap.The plate contained two slicesofbread,
a Styrofoam cupfilled wi
                       th rice,and anothercupfilled wi
                                                     th cooked beans. The mealthatis being served to the
otherprisoners consisted ofthe sam e beans and rice in an openfood tray. Plaintiffm ealwas Iabeled in hand-
writtensticker''Kosher'',with the name ofPlaintiffappeared on the second Iine following the word ''Kosher'',
while the third line stated ''Diettype:Hard Kosher'.


26. The mealgi
             ven to Plainti
                          ffwas clearly packed by the kitchen StaffofGrady County Jail,i
                                                                                       twas notsealed,
and itdid notbearany known ''KosherCerti
                                       fication'',norwas itmarked by the sealofany Rabbinic Authority.
The mealdid notm eetthe minim um standards ofthe BO P manual,nordid itbearany ofthe Koshermarking

recognized bythe BOP suchasthegenerallyacceptableOdhodoxJewish UnionILetter''U''inaCircle),or
(Star-N ,etc.aspreferenced inthe BOP'sFoodService ManualNumberP 4700.06
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FROM :92036054
TO:
SUBJECT:Bop-Grady-Marshal-z
DATE:03/21/2015 06:36:28AM
     Plaintiffinformed the guard thatthe mealdoes notappearto be Kosherbecause itis notsealed, and
Iacksthe required Rabbinic KosherCertification as the minimum standards required in the BOP according to
the BOP's Food Service Manual. The guard stated that'this is notthe BOP,this is Grady County and a Priest
hasalready blessed thisfood,so itis as Kosheras itcan be.''The Guard furtherstated to Pl
                                                                                       aintiff'you are
notthe firstto com plaintand are notgoing to be the last,itisyourchoise you eatthis orstay hungry.''

28. Plaintiffwrote again to the MarshalLiaison concerni
                                                      ng the IackofKosherfood, and concerning the

irregularityinallowing Plaintiffto Pray.Plaintiffwasallowedto prayFive(5)timesonlyduring the 14 days
he spentatGrady Jail,and he was watched and photographed from behind a m irrorglass when he was praying
every time as ifhe was conducting an artistic performance,ori
                                                            fhe wasa monkey in a cage being watched.

29. Plainti
          ffrecei
                ved a written response from the Marshal's Liaison on Feb 23,2015.The response stated
thatGrady County does notFollow norabide by the Rules and Regulations ofthe BO P,i
                                                                                 tfurtherstated thatthe

CountyJailissubjectonlytoState Law -being thelawsofthe StateofOklahoma'
                                                                      ,thus,theappli
                                                                                   cable rules
concerning praying in public are notsimilarto the Rulesapplicable inthe BOP system.Sim ilarly,the answer

amrmedthatthe BO P manualregarding KosherFood'sspeci
                                                   fication is notrecognized by Grady.

30. The com munication asserted thatthe County Jailki
                                                    tchen served Pl
                                                                  ainti
                                                                      ff''Kosherfood'
                                                                                    'asfarasthe
Grady is concerned despite the Iack ofKosherCertiscation,Rabbinic Authori
                                                                        ty,and orcom pliance wi
                                                                                              ththe
BOP manuals.Grady County JailService is notcerti
                                               sed to prepare norserve 'KosherFood'',and Grady

County Jailkitchen staffare neithercedified by an acceptable 'Kashrut'authority,norsupervised by any
nationallyrecognized KasherutSupervision Service.

31. Plaintiffcontinued to abstain from eating the food served by Grady,whereas during his 14 days in Grady
County Jailhe consumed Iess than one-halfofpound offood in total.The food was a donated sealed packof
              ven to him by anotherprisoner. Plainti# assertsthataIlofthe prisoners who were
Tuna thatwas gi
incarcerated wi
              th him during his imprisonmentin Grady County Jailwould testify to the facts stated herein.

32. Aboutthree hoursafterthe m idnightofFebruary24,2015 Plaintiffwas awaken by two Grady Guardsand
wasordered to pick up his mattress and Ieave the unit.He was then stripped and pl
                                                                                aced back in the Federal
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prison uni
         form in which he arrived to county,placed on a bus,and driven toward FTc-oklahoma City were he
was in-processed into the BOP system .

33.AIIthe documents and the notes,and the copiesofthe communication thatwas sentorreceived by

Plaintiffduring hisincarcerationin GradyCountyJailwasconfiscated bytheGuardoverPlaintifsobjection
on the ground of'LegalDocumentPrivacy and Protection.'

34.W HEREAS;

    Plaintiffisafederalprisonersubjecttothe Rulesand Regulationsgovern FederalPrisoners,whom are
incarcerated bythe effectofjudgmentand convectionrenderedbyafederalCourt,andtosuch Rulesand
Regulationsestablished and enforced by the BOP,Defendantsasserts thatthe BOP has violated his
ConstitutionalRights bysubstantiall
                                  y burdening his rightto a di
                                                             etconsistentwith his religious scrupl
                                                                                                 es.

Plaintiffasseds,thattheFederalBureauofPrison(BOP)isobligated tocontractproviderswhom canmeet
the standards setforth by the BOP's own rules and regulati
                                                         ons,including the ri
                                                                            ghtinfree exercise ofreli
                                                                                                    gion.
Grady County isa contractorforthe BOP,and Grady County Jailfail
                                                              ed and/orrefused to provide plaintiff
with ''KosherFood''and prevented and/orrestricted pl
                                                   ainti
                                                       ff's rightto practice hisJewish fai
                                                                                         th.

35. DefendantUnited States Marshal,a governm entagentworking undercolor,has also violated Plainti
                                                                                                ffs
civiland constitutionalri
                        ghts by repeatedly failing to correcta reported violation ofPlainti
                                                                                          f s ri
                                                                                               ghts,as the
requests forthe rightto pray and the rightto receive Kosherdietand which were subm i
                                                                                   tted bythe Plaintiff
were intentionally and deliberately ignored.
   DefendantU.S.MarshalService has also violated Pl
                                                  ainti
                                                      ffConstitutionaland Civilrights,and substantially
burdened the religiousfreedom ofPlainti
                                      ffby failing to provide Pl
                                                               aintiffa kosherm ealwhile in transpodati
                                                                                                      on,
in the care,custody,and controlofthe Marshals. The Marshal
                                                         s instead offered plaintiffa non-kosherfood with
no al
    ternative in violati
                       on ofthe Religi
                                     on Freedom Restoration Actof1993,Titl
                                                                         e 42 U.S.C.Secti
                                                                                        on 2000bb-1.

36. DefendantGrady County has furtherviolated Plaintiff's ci
                                                           viland Consti
                                                                       tutionalrights bysubstantially
burdening Plaintiffs religiousfreedom,and the Religious Freedom Restoration Act,Title 42 U.S.C .Section
2000bb-1. In addition to having engaged in public a Fraud and Deceitbyfraudulently and knowingly Iabeling

and serving non-kosherfoodasifitwasKosher;thus,subjectingthisfederalprisontoafraudulentpractice
and deceiving him into believing thathe is being served Kosherfood which in-factwas notKosher.
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     Plaintiffassertsthathe has standing to bring this action,Plaintifffurtherasseds thatDefendants,aII
ofthem combined,are liable inthe meaning of'MonellLiability'
                                                           'forhaving deprived him from a guaranteed
consti
     tutionalrightand burdened his rights to freelyexercise his religion in the form ofconducting his individual
prayers,and in the form ofdenying him Kosherfood.

                  e thatKosherFood is essentialin Judaism ,and as itis asserted by the Court ''KosherDiet
38. Itis irrefutabl

iscentraltothe Jewishfai
                       th.'WardV.Rabideau732F.Supp.2d 162,173(W DNY 2010).Thus;the denialof
Kosherdietby Grady County to Plainti
                                   ffviolates Plaintiff's Constitutionalrights and 42 USC Sec.2000bb-1.
Grady County is Iiable underSection 1983,MonellV.dept.ofSoc.Svc.,436 U.S.658,98 S.Ct.2018,56 L.Ed
2d 611 1978.

39.Thedefendants,aIIand eachofthem,areobligatedto providePlaintiftafederalprisoner,witha Kosher
Di
 etin compliance with Title 28 U.S.C.Sec 2000bb-1,in accordance wi
                                                                 th the BOP Food Service Manual. The
BOP's Food Service ManualNumberP4700.06,and dated September11,2011 speciscally states in Chapterd ,
secti
    on-d 'Certi
              sed Food Procedure''thatcedified food mustbe ''Cedised by NationallyAccepted Odhodox
KashrutSupervision.' The food served by Grady County to Plaintiffdid notmeetsuch standard,butitwas
ratherfraudulentl
                y Iabeled 'Kosher''by the County and served as ifitwas kosherto the plaintiff.

40. W HEREO F;
       Plaintiffhas been damaged by the actofthe defendants,and hassu#ered because the defendants
viol
   ated his rights and caused him to suffer.Plaintiffprays thatthis Honorable Courtaward him damages in

thesum ofOne million Dollarand anyotherreliefsasthe HonorableCourtseejustandequitabl
                                                                                   e.

Dated:D % /Z//2015
Dadecounty,Miami,FL                                           y--* 3   ..
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                                          RichardChichakli(Pro-Se)
                                          Plaintiff
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